Case 1:18-cv-23100-UU Document 15 Entered on FLSD Docket 11/15/2018 Page 1 of 1



                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION

FERYAL MOHAMMAD and WAJDAN
MOHAMMAD,

           Plaintiff/Petitioner,

v.                                                              CASE NO.: 1:18-CV-23100-UU

DISCOVER BANK,

           Defendant.

                                              /
                                      NOTICE OF SETTLEMENT

            COME NOW, Plaintiffs, FERYAL MOHAMMAD and WAJDAN MOHAMMAD

     (“Plaintiffs”), by and through undersigned counsel, and hereby file this Notice of Settlement,

     and state that Plaintiffs and Defendant, DISCOVER BANK, have come to an amicable

     settlement agreement.

     Date: November 15, 2018
                                     CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this 15th day of November, 2018, I electronically filed
     the foregoing document with the Clerk of Court using CM/ECF. I also certify that the
     foregoing document is being served this day on all counsel of record or pro se parties either via
     transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized
     manner for those counsel or parties who are not authorized to receive electronically Notices of
     Electronic Filing.

                                                /s/ Christopher W. Boss
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